      Case 2:19-cv-00302-RMP     ECF No. 13   filed 11/09/20   PageID.152 Page 1 of 2



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2                                                                           FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON

3
                                                                  Nov 09, 2020
4                                                                      SEAN F. MCAVOY, CLERK




5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
6

7     ALMA BRISEIDA AVILA, debtor;
      and KEVIN O’ROURKE, in his                NO: 2:19-CV-302-RMP
8     capacity as Chapter 7 Trustee for the
      Bankruptcy Estate of Alma Briseida        ORDER OF DISMISSAL WITH
9     Avila,                                    PREJUDICE

10                             Plaintiffs,

11          v.

12    JP MORGAN CHASE BANK NA, a
      Delaware corporation; and ASHLEY
13    LOYD, an individual,

14                             Defendants.

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16         BEFORE THE COURT is the Stipulated Motion to Dismiss with Prejudice,

17   ECF No. 12. Having reviewed the Motion and the record, the Court finds good

18   cause to grant dismissal. Accordingly, IT IS HEREBY ORDERED:

19         1. The Stipulated Motion to Dismiss with Prejudice, ECF No. 12, is

20               GRANTED.

21



     ORDER OF DISMISSAL WITH PREJUDICE ~ 1
      Case 2:19-cv-00302-RMP         ECF No. 13   filed 11/09/20   PageID.153 Page 2 of 2



1          2. Plaintiff’s Complaint is dismissed with prejudice and without fees or

2              costs to any party.

3          3. All pending motions, if any, are DENIED AS MOOT.

4          4. All scheduled court hearings, if any, are STRICKEN.

5          IT IS SO ORDERED. The District Court Clerk is directed to enter this

6    Order, enter judgment of dismissal with prejudice, provide copies to counsel, and

7    close this case.

8          DATED November 9, 2020.

9
                                                  s/ Rosanna Malouf Peterson
10                                            ROSANNA MALOUF PETERSON
                                                 United States District Judge
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     ORDER OF DISMISSAL WITH PREJUDICE ~ 2
